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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:10cr57.21
                                                  §            (Judge Schneider)
 BANK OF AMERICA                                  §
 AXA EQUITABLE                                    §
 HARTFORD LIFE AND ANNUITY                        §
 INSURANCE CO.                                    §
 Garnishee-Defendants                             §
 and                                              §
 DEBBIE FERNIE                                    §
 Judgment-Defendant                               §

                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the report of the United States Magistrate Judge in this action, this

 matter having been heretofore referred to the United States Magistrate Judge pursuant to 28 U.S.C.

 § 636. On March 28, 2011, the report of the Magistrate Judge was entered containing proposed

 findings of fact and recommendations concerning a dispute regarding United States’ Writ of

 Continuing Garnishment against AXA Equitable (Dkt. #735), Bank of America (Dkt. #733), and

 Hartford Life and Annuity Insurance Co. (Dkt. #731).

        Having received the report of the United States Magistrate Judge, and no objections thereto

 having been timely filed, this Court is of the opinion that the findings and conclusions of the

 Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and conclusions

 of the Court. It is accordingly




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       ORDERED that the Judgment-Defendant’s exemption claim is DENIED and the requests

 for hearing are DENIED.

       It is SO ORDERED.

       SIGNED this 19th day of April, 2011.




                                                     ____________________________________
                                                     MICHAEL H. SCHNEIDER
                                                     UNITED STATES DISTRICT JUDGE




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